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              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT


                               Case No. 25-60042

                 CALUMET SHREVEPORT REFINING, LLC,

                                             Petitioner,

                                              v.

       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,

                                         Respondent.


              On Petition for Review of Final Agency Action of the
                United States Environmental Protection Agency


                EPA’S RESPONSE TO PETITIONER’S
           MOTION FOR STAY PENDING JUDICIAL REVIEW

      Respondent U.S. Environmental Protection Agency (“EPA”) submits this

response to Petitioner Calumet Shreveport Refining, LLC’s (“Calumet

Shreveport”) motion for a stay pending judicial review. ECF No. 17 (Feb. 4, 2025)

(under seal). On January 30, 2025, Calumet Shreveport filed a petition for review

challenging EPA’s final action issued January 16, 2025, which had denied Calumet

Shreveport’s petition for a one-year extension of the small refinery exemption from

its 2023 Renewable Fuel Standard (“RFS”) compliance obligations under 42

U.S.C. § 7545(o)(9)(B). The challenged EPA action is entitled “Denial of Request




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for Extension of Small Refinery Temporary Exemption Under the Renewable Fuel

Standard Program for Calumet Shreveport Refining, LLC’s Shreveport, Louisiana

Refinery” (the “Petition Denial”). Calumet Shreveport seeks a stay of its 2023 RFS

compliance obligations pending resolution of its petition for review. The Court has

not yet set a briefing schedule.

      In light of the issues raised in Calumet Shreveport’s motion for a stay

pending judicial review, Calumet Shreveport’s representation that it would suffer

irreparable harm absent a stay, and EPA’s current review of the Petition Denial,

EPA does not oppose the relief requested in Calumet Shreveport’s stay motion. In

doing so, however, EPA takes no position on the merits of Calumet Shreveport’s

underlying arguments regarding the Petition Denial.



      Respectfully submitted February 13, 2025.

                                      LISA LYNNE RUSSELL
                                      Deputy Assistant Attorney General

                                      /s/ Jeffrey Hughes .
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                         CERTIFICATE OF SERVICE

      I hereby certify that pursuant to 5th Cir. R. 25.2.8, I filed via CM/ECF the

foregoing, which will effectuate service on all counsel of record who are required

to be registered on CM/ECF.


Dated: February 13, 2025                       /s/ Jeffrey Hughes
                                               JEFFREY HUGHES




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this response complies with the requirements of Fed. R.

App. P. 27(d)(2)(A) because it contains 208 words according to the count of

Microsoft Word, excluding the parts of the response exempted by Fed. R. App. P.

32(f), and therefore is within the word limit of 5,200 words.

      I further certify that this response complies with the requirements of Fed. R.

App. P. 32(a)(5) and (6) because it has been prepared in 14-point Times New

Roman, a proportionally spaced font, and is double-spaced, except for headings,

block quotes, and footnotes.


Dated: February 13, 2025                       /s/ Jeffrey Hughes
                                               JEFFREY HUGHES




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